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RABBI BETH JACOWJTZ CHOTTINER
Temple Shalom                            Loulsville, KY 402


Hon. David J. Hale
United States District Judge for the Western District of Kentucky
601 W. Broadway
Louisville, KY 40202

January 7, 2025

To the Honorable David J. Hale.

I am writing on behalf of Josh White in my capacity as the r.ihbi ofTemple Shalom. Louisville, KY. met Josh in
the foll of 2017 when Josh pitched his ,den of planting trees on the grounds of Temple Shalom. both 10
reduce the beat canopy in our city and to celebrate Tu B'Shevat.. a Jewish holiday that is akin to arbor day.
This we did in February 2018, but it would never have happened without Josh.

I was very impressed with Josh during our initial meeting for several reasons:


       •He was committed to helping the environment by planting trees, exemplified by his position on the
       executive board of the Sierra Club;
       •He asked if he could make an educational presentation to my congregants before we planted:
       •He not only offered to write a grant to purchase the trees, but also traveled to a nursery in Indiana
       to get the trees and bring them buck lo Temple Shalom;
       •And he bored most of the 42 holes on planting day before we arrived.


In addition to this, Josh knew all the ins and outs of planting trees and what was needed to ensure they would
live and thrive. He communicated effectively and willingly volunteered his time on a cold, winter Sunday.

Members of Temple Shalom and students from the High School of Jewish Studies learned from Josh, planted
42 trees, had a great time, and made the world a belier place. I will always be grateful to Josh for proposing his
idea. I noticed the kindness Josh showed us when we needed his help, his patience for us as we planted trees
in a much slower fashion than Josh could have done on his own, and his willingness to answer a variety o f
questions throughout the day.

The members of Temple Shalom and I are getting ready to celebrate Tu B'Shevat. again. While I am aware that
Josh has a legal matter before you. I sincerely hope he will he able to return to Temple Shalom next month to
teach us how to properly prune our young trees and guide us during the process. Josh has the agricultural
knowledge and temperament to not only teach the citizens of Louisville how to improve our collective
environment and air quality, but he knows how to do so in an ongoing and fun way.

I thank the Court for taking the time to read my leer. Should you have any questions. I ccan be reached at the
cell phone number and/or the email address listed above.

Respectfully submitted.




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Rabbi Beth Jacowitz Chottiner
